
HALL, Judge.
The appeal in this case was consolidated for hearing with the appeal in our No. 2956 entitled “Louis G. Floyd, Jr. vs. Anderson Carter, Jr. and New Amsterdam Casualty Company.” 209 So.2d 124. For the reasons stated in our opinion in that case this day handed down the judgment appealed from in this matter entitled “Washington Fire &amp; Marine Insurance Company, et al vs. Louis G. Floyd, Jr.,” being No. 435-184 of the docket of the Civil District Court for the Parish of Orleans (our No. 2957), is affirmed; costs of this appeal to be borne by plaintiffs-appellants.
Affirmed.
